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GROUP DOCUMENT Todd A. Spodek, Esq.
PC. ELECTRONICALLY FILED Direct Dial: (347) 292-8633
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September 12,2022...)
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BY ECF: Wiki Ep. L,

Hon. Colleen McMahon
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007 (4 Me
RE: United States v. Amir Bruno Elmaani Me hh

Case No.: 1:20-cr-00661-1 (CM) | |
Second Request for Modification of Release Conditions q All dotr

Dear Judge McMahon:

Please be advised that Spodek Law Group P.C. represents Amir Bruno
Elmaani, the Defendant in the above-referenced matter. Mr. Elmaani respectfully
requests a modification of his release conditions to permit early travel to the Southern
District of New York in advance of his September 28, 2022 court appearance.

Specifically, Mr. Elmaani would like to leave West Virginia on September 24th,
arrive in the Southern District of New York on September 25th, and remain here until
September 29th. Mr. Elmaani would come back to West Virginia on September 30th.
All travel itineraries will be provided to Pre-Trial Services in advance of Mr. Elmaani’s
departure on September 24th.

Neither Pre-Trial Services nor the Government object to Mr. Elmaani’s request.
Thank you for your consideration.
Sincerely,

Spodek Law Group P.C.
/S/ Todd A. Spodek

TS/az
cc: All Counsel (By ECF).

 

85 Broad Street, 17th Floor, NY, NY 10004 | T: (212) 300-5196 | F: (212) 300-6371 | info@spodeklawgroup.com

 

 
